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                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 UNITED STATES OF AMERICA                             §
                                                      §
                                                      § CASE NO. 6:16-CR-0039-RC
 v.                                                   §
                                                      §
                                                      §
 NADIA FARISHTA (3)                                   §
                                                      §

           FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter is referred to the undersigned United States

 Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

 statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to

 28 U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

        On June 6, 2017, this case came before the undersigned magistrate judge for entry of a

 guilty plea by the Defendant, Nadia Farishta, to Counts One, Two and Six of the Indictment. Count

 One alleges that beginning at least by April 2013, the exact date being unknown to the Grand Jury,

 and continuing thereafter through the date of the return of this indictment, in Smith County, Texas;

 and in Collin County, Texas; in the Eastern District of Texas, and elsewhere, Saleem Jiwani, Adeel

 Khan, Nadia Farishta, Sharjeel Ali, and Nimrose Khan, Defendants herein, did knowingly and

 intentionally combine, conspire, confederate and agree together with each other and with others

 known and unknown to the Grand Jury, to knowingly and intentionally distribute and possess with

 intent to distribute Schedule I controlled substances, in violation of the laws of the United States,

 to wit, 21 U.S.C. § 841(a)(1) prohibiting the distribution of Schedule I controlled substances, all

 in violation of 21 U.S.C. § 846 – Conspiracy to Distribute and Possess with Intent to Distribute


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 Schedule I Controlled Substances. Count Two alleges that beginning at least by April 2013, the

 exact date being unknown to the Grand Jury, and continuing thereafter through the date of the

 return of this Indictment, in Smith County, Texas; and in Collin County, Texas; in the Eastern

 District of Texas, and elsewhere, Saleem Jiwani, Adeel Khan, Nadia Farishta, Sharjeel Ali and

 Nimrose Khan, Defendants herein, did knowingly and intentionally combine, conspire,

 confederate and agree together with each other and with others known and unknown to the Grand

 Jury, to knowingly and intentionally distribute and possess with intent to distribute controlled

 substance analogues as defined in 21 U.S.C. § 802(32)(A), knowing that each was intended for

 human consumption, as provided in 21 U.S.C. § 813, in violation of the laws of the United States,

 to wit, 21 U.S.C. § 802(32)(A), 21 U.S.C. § 813, and 21 U.S.C. § 841(a)(1), prohibiting the

 distribution of controlled substance analogues, all in violation of 21 U.S.C. § 846 – Conspiracy to

 Distribute and Possess with Intent to Distribute Controlled Substance Analogues. Count Six

 alleges that on June 19, 2014, in the Eastern District of Texas, the defendant, Nadia Farishta, aided

 and abetted by others, knowingly engaged and attempted to engage in monetary transactions by,

 through, and to a financial institution, affecting interstate or foreign commerce, in criminally

 derived property of a value greater than $10,000, that is the transfer of U.S. currency, funds, or

 monetary instruments, such property having been derived from a specified unlawful activity,

 namely the conspiracies for the sale and distribution of Schedule I controlled substances and

 controlled substance analogues, violations of 21 U.S.C. §§ 846, 841 and 813, more specifically a

 check in the amount of $19,172.50 written from JP Morgan Chase Acct. #XXXXX7739 in the

 name of “SNK Vapor Inc.” to the SOS, for “personal,” all in violation of 18 U.S.C. § 1957.




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          The Defendant entered a plea of guilty to Counts One, Two and Six of the Indictment into

 the record at the hearing. After conducting the proceeding in the form and manner prescribed by

 Federal Rule of Criminal Procedure 11, the undersigned finds:

          a.       That the Defendant, after consultation with her attorney, has knowingly, freely and

 voluntarily consented to the administration of the guilty plea in this case by a United States

 Magistrate Judge in the Eastern District of Texas, subject to a final approval and imposition of

 sentence by the District Judge.

          b.       That the Defendant and the Government have entered into a plea agreement which

 was disclosed and addressed in open court, entered into the record, and placed under seal. The

 Defendant verified that she understood the terms of the plea agreement, and she acknowledged

 that it was her signature on the plea agreement. To the extent the plea agreement contains

 recommendations and requests pursuant to FED. R. CRIM. P. 11 (c)(1)(B), the court advised the

 Defendant that she has no right to withdraw the plea if the court does not follow the particular

 recommendations or requests. To the extent that any or all of the terms of the plea agreement are

 pursuant to Rule 11(c)(1)(A) or (C), the undersigned advised the Defendant that she will have the

 opportunity to withdraw her plea of guilty should the court not follow those particular terms of

 the plea agreement. 1


 1. “(3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
 that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
 the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the
 judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in
 Rule 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in
 camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and

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          c.       That the Defendant is fully competent and capable of entering an informed plea,

 that the Defendant is aware of the nature of the charges and the consequences of the plea, and that

 the plea of guilty is made freely, knowingly, and voluntarily. Upon addressing the Defendant

 personally in open court, the undersigned determines that the Defendant’s plea is knowing and

 voluntary and did not result from force, threats or promises (other than the promises set forth in

 the plea agreement). See FED. R. CRIM. P. 11(b)(2).

          d.       That the Defendant’s knowing and voluntary plea is supported by an independent

 factual basis establishing each of the essential elements of the offense and the Defendant realizes

 that his conduct falls within the definition of the crimes charged under 21 U.S.C. § 846, Conspiracy

 to Distribute and Possess with Intent to Distribute Schedule I Controlled Substances and

 Conspiracy to Distribute and Possess with Intent to Distribute Controlled Substance Analogues,

 and 18 U.S.C. § 1957, Engaging in Monetary Transactions in Property Derived from Specified

 Unlawful Activity.

                                        STATEMENT OF REASONS

          As factual support for the Defendant’s guilty plea, the Government presented a factual

 basis. See Factual Basis. In support, the Government would prove that the Defendant is the same

 person charged in the Indictment, and that the events described in the Indictment occurred in the

 Eastern District of Texas. The Government would also have proven, beyond a reasonable doubt,

 each and every essential element of the offenses as alleged in Counts One, Two and Six of the

 Indictment through the testimony of witnesses, including expert witnesses, and admissible

 exhibits. In support of the Defendant’s plea, the undersigned incorporates the proffer of evidence

 described in detail in the factual basis filed in support of the plea agreement, and the Defendant’s


 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated.” FED. R. CRIM. P. 11(c)(3)-(5).

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 admissions made in open court in response to the undersigned’s further inquiry into the factual

 basis.

          The Defendant agreed with and stipulated to the evidence presented in the factual basis.

 Counsel for the Defendant and the Government attested to the Defendant’s competency and

 capability to enter an informed plea of guilty. The Defendant agreed with the evidence presented

 by the Government and personally testified that he was entering the guilty plea knowingly, freely

 and voluntarily.

                                RECOMMENDED DISPOSITION

          IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of the Defendant, which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Counts One, Two and Six of the Indictment. Accordingly, it is

 further recommended that the Court finally adjudge the Defendant, Nadia Farishta, guilty of the

 charged offenses under 21 U.S.C. § 846 and 18 U.S.C. § 1957 – Conspiracy to Distribute and

 Possess with Intent to Distribute Schedule I Controlled Substances, Conspiracy to Distribute and

 Possess with Intent to Distribute Controlled Substance Analogues, and Engaging in Monetary

 Transactions in Property Derived from Specified Unlawful Activity.

          The Court should defer its decision to accept or reject the plea agreement until there has

 been an opportunity to review the presentence report. If the plea agreement is rejected and the

 Defendant still persists in his guilty plea, the disposition of the case may be less favorable to the

 Defendant than that contemplated by the plea agreement. The Defendant is ordered to report to

 the United States Probation Department for the preparation of a presentence report. The Defendant

 has the right to allocute before the District Court before imposition of sentence.



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                                           OBJECTIONS

        Pursuant to 28 U.S.C. § 636(b)(1)(c), each party to this action has the right to file objections

 to this report and recommendation. Objections to this report must: (1) be in writing, (2)

 specifically identify those findings or recommendations to which the party objects, and (3) be

 served and filed within fourteen (14) days after being served with a copy of this report, and (4) no

 more than eight (8) pages in length. See 28 U.S.C. § 636(b)(1)(c) (2009); FED. R. CIV. P. 72(b)(2);

 Local Rule CV-72(c). A party who objects to this report is entitled to a de novo determination by

 the United States District Judge of those proposed findings and recommendations to which a

 specific objection is timely made. See 28 U.S.C. § 636(b)(1) (2009); FED R. CIV. P. 72(b)(3).

        A party’s failure to file specific, written objections to the proposed findings of fact and

 conclusions of law contained in this report, within fourteen (14) days of being served with a copy

 of this report, bars that party from: (1) entitlement to de novo review by the United States District

 Judge of the findings of fact and conclusions of law, see Rodriguez v. Bowen, 857 F.2d 275, 276–

 77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error, of any such findings

 of fact and conclusions of law accepted by the United States District Judge, see Douglass v. United

 Servs. Auto. Ass’n, 79 F.3d 1415, 1428–29 (5th Cir. 1996) (en banc).


                So ORDERED and SIGNED this 6th day of June, 2017.




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